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AO 91 (Rev. 08/09) Criminal Complaint
                                                                                                   t.3
                                     UNITED STATES DISTRICT COURT
                                                                 for the
                                                           District of Oregon

                  United States of America                          )
                             v.                                     )
                                                                    )       Case No.
                  SKYLAAR DYLAN FORD                                )
                                                                    )                         '17-MJ-77 '~
                                                                    )
                           Defendant(s)


                                                     CRIMINAL COMPLAINT

         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                     June 9 2017                 in the county of              Multnomah              in the
                      District of _ ____,O~r-=eg=o=n~--, the defendant(s) violated:

            Code Section                                                        Offense Description
                                                Possession with Intent to Distribute a Controlled Substance
21 U.S.C. §§ 841 (a)(1) and                     (MOMA) - On or about June 9, 2017, within the District of
841(b)(1)(C)
                                                Oregon, defendant Skylaar Dylan Ford, did knowingly and
                                                intentionally possess with intent to distribute 3,4-
                                                Methylenedioxymethamphetamine (MOMA), a Schedule I
                                                controlled substance, in violation of 21 U.S.C. §§ 841(a)(1) and
                                                841 (b)(1 )(C).

         This criminal complaint is based on these facts:

See Affidavit of Homeland Security Investigations Special Agent Guy Gino.




         ft Continued on the attached sheet.

                                                                             Sworn via hone at 4:30 m, 6/13/2017 FRCP 4.1
                                                                                               Complainant's signature
                                                                                                                                         )'11'
                                                                                                                                         ?flY
                                                                                         Guy Gino, Special Agent, HSI
                                                                                                Printed name and title

Sworn to before me and signed in my presence.


Date:             06/13/2017


City and state:                         Portland, Oregon                        Hon. Stacie F. Beckerman, U.S. Magistrate Judge
                                                                                                Printed name and title
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DISTRICT OF OREGON
                                   SS.                            AFFIDAVIT OF GUY GINO
COUNTY OF MULTNOMAH


     Affidayit in Support of Crimjnal Complaint and Application for an Arrest Warrant

       I, Guy Gino, being first duly sworn, depose and say:

                               Introduction and A&ent Back&round

       1.       I am a Special Agent (SA) with Homeland Security Investigations (HSI) and have

been so employed since 2003.      I am a law enforcement officer of the United States within the

meaning of Title 18, United States Code, Section 2510(7) and I am authorized by law to conduct

investigations and to make arrests for felony offenses. I am currently assigned to the Assistant

Special Agent in Charge, Portland, Oregon. Prior to this, I was employed as a U.S. Border Patrol

Agent and have been a federal law enforcement officer since September 1996. I am authorized

and assigned to investigate violations of federal laws, including 21 U.S.C. §§ 84l(a)(l), 846, 848,

and 843(b) of the Drug Abuse Prevention and Control Act of 1970; that is, possession with intent

to distribute and the distribution of controlled substances, conspiracy to commit such offenses, the

operation of a continuing criminal enterprise, and the use of a communication facility to facilitate a

felony violation of the Drug Abuse Prevention and Control Act of 1970. During my tenure as a

federal law enforcement officer, I have investigated and/or participated in investigations of

conspiracy, money laundering, narcotics trafficking, fraud, smuggling and theft. I have also

acquired knowledge and information about the illegal drug trade and the various means and

methods by which it is furthered including through the use of computers, smart phones, digital

media and the Internet from formal and informal training, other law enforcement officers and

investigators, informants, individuals I have arrested and/or interviewed, and from my

participation in other investigations. I am currently detailed to the
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High Intensity Drug Trafficking Area (HIDTA) Interdiction Taskforce (HIT) located at the

Portland Police Bureau's Drugs and Vice Division.

                                         Applicable Law

       2.       The Controlled Substances Act (CSA) is the statue establishing federal U.S. drug

policy under which the manufacture, importation, possession, use and distribution of certain

substances is regulated. The CSA classified drugs into five schedules. Schedule I drugs,

substances or chemicals are defined as drugs with no currently accepted medical use and a high

potential for abuse. Schedule I drugs are the most dangerous drugs of all the drug schedules

with potentially severe psychological or physical dependence. 3 , 4 - Methylene-dioxy-

methamphetamine, also known as MOMA and/or "ecstasy," is a "controlled substance" as

defined by 21 U.S.C. § 802. MOMA is a Schedule I controlled substance. Pursuant to 21

U.S.C. § 841 (a)(l ), it is unlawful for any person to knowingly or intentionally manufacture,

distribute, or dispense, or possess with intent to manufacture, distribute, or dispense, a controlled

substance.

                                  Statement of Probable Cause

       3.       On June 9, 2017, Multnomah County Probation and Parole Officer Kevin

Novinger was conducting a home visit on Skylaar Dylan FORD. FORD is on post-prison

supervision from a Lane County conviction for possession of a schedule II controlled substance.

       4.        During the visit, Probation and Parole Officers Novinger and Cruz were granted

consent to search FORD's residence and found that FORD had a friend visiting him. It was

discovered that the individual to had an outstanding warrant and was arrested.

       5.        During the search of the residence PPO Novinger discovered over 100 grams of

Heroin, which FORD claimed belonged to his friend. PPO Novinger contacted Portland Police




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;
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    Bureau for assistance. I was also contacted and responded to the location with PPB Officers

    Verbout and Groshong.

           6.       I know Skylaar Dylan FORD from a separate investigation. Previously, on

    September 30, 2016, 10 pounds of marijuana were discovered in FORD's possession during a

    similar consent search conducted by Multnomah County Probation and Parole. During that time,

    I was called out to assist on that investigation due to my knowledge regarding narcotics sales

    using the dark net and bitcoin. After being advised of his Miranda rights, FORD admitted to me

    that he was dark net vendor of Marijuana, Butane Hash Oil (BHO), and other Marijuana extract

    products. FORD explained that he would ship these narcotics throughout the United States and

    the United Kingdom using the U.S. Postal Service.

           7.       During this September 30, 2016, incident, FORD cooperated and identified his

    AlphaBay vendor account usemame and provided me with his user credentials. FORD consented

    for Homeland Security Investigations to take over his vendor account. As a result, I was able to

    identify that during the previous 11-month period, FORD's AlphaBay vendor account had

    conducted 1,684 sales and grossed more than a $1,000,000.

           8.       On June 9, 2017, the immediate incident, I arrived at the scene and was briefed

    by PPO Novinger. I observed PPO Novinger place FORD into custody and advise him of his

    Miranda warnings. I also observed PPO Novinger asked permission to search the rest of FORD's

    residence to which FORD stated "sure".

           9.       During the search, I located an unopened US Mail Priority Parcel which was

    addressed to Skylar FORD & Orbit at FORD's residence. The parcel originated in Alaska and

    had listed FORD's mother's name as the sender. PPO Novinger informed me that FORD told

    him it was a "July 4th" gift for him and his girlfriend from his mother and he didn't want it

    opened.


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        10.      I showed the parcel to FORD and asked him what it was to which FORD told me

that it was a gift for his dog Orbit and he can't open it until July 4th because he promised.

        11.      PPB K9 officer Groshong arrived and I informed FORD that I feel he was lying

to me and I wanted to have the K9 sniff the parcel. At that time FORD stated "you can open it.

It's molly". I know molly to be another name for the schedule I controlled substance 3,4-

Methylene-dioxy-methamphetamine, which is more commonly known as MDMA.

        12.      I opened the parcel which secreted inside a new blanket was two bricks that were

wrapped in carbon paper and heat-sealed food saver packaging. I cut ten packaging and observed

a champagne colored substance that was later identified by test kit to be MDMA, a Schedule I

controlled substance. The total weight was 500 grams.

        13.      FORD told me that he was again selling on the dark net site AlphaBay, but this

time it was "molly" or MDMA. FORD informed me that he ordered the MDMA from the

Netherlands and it was shipped to a friend in Alaska who then repackaged it and sent it to him at

his residence.

        14.      FORD provided me with his AlphaBay vendor usemame which he informed to

me had been operating since November 2016. I later went onto the site AlphaBay was able to

confirm the usemame FORD provide to me. I was able to observe that it has been a vendor

account since November 16, 2016 and has 531 confirmed sales of MDMA.

        15.      I know, based upon my training and experience, that MDMA is commonly sold

in either pill or powder form and an individual dosage of MDMA is measured in milligram

quantities. I also know that 500 grams of MDMA is well beyond a typical user amount and,

from my training and experience, a person possessing 500 grams of MDMA possesses it for

purposes of further distribution.




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                                          CONCLUSION

          16.     Based on the foregoing, I have probable cause to believe, and I do believe, that

on or about June 9, 2017, Skylaar Dylan FORD knowingly and intentionally possessed with the

intent to distribute 500 grams of MDMA, a Schedule I controlled substance, in violation of21

U.S.C. §§ 84l(a)(l) and 841(b)(l)(C).

          17.     Prior to being submitted to the Court, this affidavit, the proposed complaint, and

the requested arrest warrant were all reviewed by Assistant United States Attorney (AUSA) Scott

Kerin. AUSA Kerin advised me that, in his opinion, the affidavit and application are legally and

factually sufficient to establish probable cause to support the issuance of the requested warrant.

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        18.      It is respectfully requested that the Court issue an order sealing, until further

order of the Court, all papers submitted in support of the requested search warrant, including the

application, this affidavit, the attachments, and the requested search warrant. I believe that

sealing these documents is necessary because the information to be seized is relevant to an

ongoing investigation, and any disclosure of the information at this time may endanger the life or

physical safety of an individual, cause flight from prosecution, cause destruction of or tampering

with evidence, cause intimidation of potential witnesses, or otherwise seriously jeopardize an

investigation. Premature disclosure of the contents of the application, this affidavit, the

attachments, and the requested search warrant may adversely affect the integrity of the

investigation.
                                                                Sworn via telephone at 4:30
                                                                June 23, 2017 (FRCP 4.1)


                                                               Special Agent Guy Gino
                                                               Homeland Security Investigations



       SUBSCRIBED and SWORN to me this 13th day of June 2017.




                                                               United States Magistrate Judge




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